Case:19-10772-SDB Doc#:102 Filed:12/06/21 Entered:12/06/21 15:03:02                    Page:1 of 1
                          IN THE UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF GEORGIA
                                     AUGUSTA DIVISION


 In the Matter of:                                         )           Chapter 13
 Benjamin L Ivey                                           )
 Sharon L Ivey                                             )           Case No: 19-10772-SDB
 606 Arnall Street                                         )
 Thomson, GA 30824                                         )

 Debtors

                                NOTICE OF NON-COMPLIANCE

           COMES NOW, the Chapter 13 Trustee Huon Le, by and through counsel, and informs

 the Court that on October 28, 2021 the Court ordered the Trustee to monitor the Debtors' case for

 strict adherence to the Court's order and the confirmed plan. The Debtors have not made

 payments to the Trustee's Office as ordered. Thus, the Debtors have failed to comply with the

 Court's order.

           This 6th day of December 2021.

                                                 /s/ Jane Miller
                                                 Jane Miller, Attorney for
                                                 Chapter 13 Trustee Huon Le
                                                 Georgia Bar No. 256304
                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that copies of this Notice of Non-Compliance have been
 forwarded by either electronic or first-class mail, postage prepaid, to the above-named Debtors
 and the parties whose name appears below, on the 6th day of December 2021.
                                                 /s/ Yvonne Ogbuefi
                                                 Office of the Chapter 13 Trustee
                                                 Post Office Box 2127
                                                 Augusta, GA 30903-2127
 Wills Law Firm LLC
 Attorney At Law
 P O Box 1620
 Thomson, GA 30824
